
The Disciplinary Review Board having filed with the Court its decision in DRB 16-252, concluding on the record certified to the Board pursuant to Rule 1:20-4(f)(default by respondent) that SEAN R. SEXTON of JERSEY CITY, who was admitted to the bar of this State in 2004, should be censured for violating RPC 5.5(a)(1) (practicing law while ineligible), and good cause appearing;
It is ORDERED that SEAN R. SEXTON is hereby censured; and it is further
ORDERED that the entire record of this matter be made a permanent part of respondent's file as an attorney at law of this State; and it is further
ORDERED that respondent reimburse the Disciplinary Oversight Committee for appropriate administrative costs and actual expenses incurred in the prosecution of this matter, as provided in Rule 1:20-17.
